Case 2:08-cr-00067-JAW Document 272 Filed 07/28/09 Page 1 of 5                   PageID #: 819




                         UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
                                            )
                                            )
v.                                          )              CRIMINAL NO. 08-67-P-H-05
                                            )
GREGORY ODOM,                               )
                                            )
                      DEFENDANT             )


               MEMORANDUM OPINION ON SENTENCING ISSUES1


       The parties have asked me to determine, before sentencing and based upon

their written sentencing memoranda, whether the defendant Gregory Odom is to

be treated as a career offender under Sentencing Guideline § 4B1.l, and if so, his

offense level. First, I conclude that two prior convictions, detailed in paragraphs

25 and 26 of the Revised Presentence Report, qualify Odom as a career offender.

Second, I conclude that Odom’s offense level is determined by the statutory

maximum sentence, derived from the conspiracy-wide amount of drugs to which

Odom pleaded guilty, not the amount individually attributable to him under

United States v. Colon-Solis, 354 F.3d 101 (1st Cir. 2004). Accordingly, as a

career offender, Odom is ascribed offense level 37 under the Sentencing

Guidelines.




1 Although the parties initially suggested that they might request oral argument on these issues,

neither the prosecution nor the defense made such a request.
Case 2:08-cr-00067-JAW Document 272 Filed 07/28/09 Page 2 of 5               PageID #: 820




                                        ANALYSIS

   I. Career Offender


   Section 4B1.1 of the U.S. Sentencing Guidelines provides:

              (a) A defendant is a career offender if (1) the defendant was at
              least eighteen years old at the time the defendant committed
              the instant offense of conviction; (2) the instant offense of
              conviction is a felony that is either a crime of violence or a
              controlled substance offense; and (3) the defendant has at
              least two prior felony convictions of either a crime of violence
              or a controlled substance offense.

U.S.S.G. § 4B1.1(a).      There is no dispute that Odom meets the first two

requirements. The only question is whether two of Odom’s prior convictions

(paragraphs 25 and 26 of the Presentence Report) qualify as “prior felony

convictions of either a crime of violence or a controlled substance offense” under

prong three of Section 4B1.1(a).

      Paragraph 26 of the Presentence Report details a conviction for breaking

and/or entering into a home.          The Guidelines define “crime of violence” as

including “any offense under federal or state law, punishable by imprisonment for

a term exceeding one year, that . . . is burglary of a dwelling.” U.S.S.G. § 4B1.2(a).

Under the applicable North Carolina statute, Odom’s offense was punishable by

imprisonment for a term exceeding one year. N.C. Gen. Stat. 14-54(A); N.C. Gen.

Stat. § 15A-1340.17(c), (d); Transcript of Plea, North Carolina v. Odom, 01-CRS-

105500, at 2 (Attachment to Def.’s Sentencing Mem. at 21 (Docket Item 267-4))

(Class H felony, maximum sentence of 30 months imprisonment). The conviction

listed in paragraph 26 thus plainly qualifies as a “crime of violence” under the

Guidelines.

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Case 2:08-cr-00067-JAW Document 272 Filed 07/28/09 Page 3 of 5                     PageID #: 821




       Paragraph 25 of the Presentence Report also describes a North Carolina

conviction for breaking and/or entering into a home. Odom nonetheless argues

that because this home was the home of Odom’s mother and step-father, a home

in which Odom himself was residing at the time, it does not qualify as a burglary

of a dwelling under the definition of “crime of violence.” Def.’s Sentencing Mem. at

2 (Docket Item 267) (citing no supporting authority). But I do not look behind the

conviction to determine whether a conviction of burglary of a particular dwelling

carried with it a risk of violence.2

       Since Odom has at least two prior felony convictions of either a crime of

violence or a controlled substance offense, Odom is categorized as a career

offender under the Guidelines.

   II. Offense Level

       As a career offender, under Section 4B1.1 of the Guidelines, Odom’s offense

level is 37 because the statutory maximum penalty for the crime to which he has

pleaded guilty is life imprisonment, regardless of whether Colon-Solis applies to

reduce Odom’s statutory minimum sentence.




2 I also observe that the conviction described in paragraph 25 lists three crimes—the breaking and

entering of Odom’s family home, larceny from that home, and also possession with intent to sell
marijuana. The Guidelines provide that a “controlled substance offense” for purposes of career
offender status is “an offense under federal or state law, punishable by imprisonment for a term
exceeding one year, that prohibits . . . the possession of a controlled substance (or a counterfeit
substance) with intent to manufacture, import, export, distribute, or dispense.” U.S.S.G.
§ 4B1.2(b). Under the applicable North Carolina drug statute, Odom’s offense was punishable by
imprisonment or a term exceeding one year. N.C. Gen. Stat. § 90-95(A); N.C. Gen. Stat. § 15A-
1340.17(c), (d); Transcript of Plea, North Carolina v. Odom, 01-CRS-079475, at 2 (Attachment to
Def.’s Sentencing Mem. at 6 (Docket Item 267-4)) (Class I felony, maximum sentence of 15 months
imprisonment). Thus the conviction listed in paragraph 25, for possession with intent to sell
marijuana, qualifies as a “controlled substance offense” under prong three of Section 4B1.1(a) of
the Guidelines.

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Case 2:08-cr-00067-JAW Document 272 Filed 07/28/09 Page 4 of 5          PageID #: 822




      Odom pleaded guilty to one count of conspiracy to distribute and possess

with intent to distribute controlled substances, including 50 grams or more of

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 846. Pursuant to statute, if a

drug conspiracy involves “50 grams or more of [cocaine] which contains cocaine

base . . . such person shall be sentenced to a term of imprisonment which may

not be less than 10 years or more than life.” Id. § 841(b)(1)(A)(iii). Accordingly, by

pleading guilty to Count One of the Second Superseding Indictment, Odom is

subject to a statutory maximum term of life imprisonment.

      Colon-Solis held that for a statutory mandatory minimum sentence, “when a

district court determines drug quantity for the purpose of sentencing a defendant

convicted of participating in a drug-trafficking conspiracy, the court is required to

make an individualized finding as to drug amounts attributable to, or foreseeable

by, that defendant.”    354 F.3d at 103.      For a statutory maximum sentence,

however, Colon-Solis explained that the applicable maximum in a drug conspiracy

case is determined from a “conspiracy-wide perspective.” Id.; cf. United States v.

Sanchez-Badillo, 540 F.3d 24, 35 (1st Cir. 2008) (noting that the defendants “each

faced a statutory maximum sentence of life in prison” but also describing Colon-

Solis’s application to statutory minimums). Accordingly, Colon-Solis requires a

sentencing court to make individualized findings of drug quantity only with

respect to determining statutory minimum sentence, not statutory maximum

sentence.   354 F.3d at 103.       The government maintains that it can prove

individual responsibility for only 10.5 grams of cocaine base and 64 grams of




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Case 2:08-cr-00067-JAW Document 272 Filed 07/28/09 Page 5 of 5       PageID #: 823




cocaine powder. That amount would support a statutory minimum of only 5

years, but it does not affect the potential statutory maximum.

      Here, because Odom pleaded guilty to a conspiracy-wide amount of at least

50 grams of cocaine base, the statutory maximum penalty for his conviction is life

in prison. See 21 U.S.C. § 841(b)(1)(A)(iii). Because he is subject to an offense

statutory maximum of life, the Sentencing Guidelines provide that, as a career

offender, Odom’s offense level is 37. U.S.S.G. § 4B1.1(b). Colon-Solis, although it

affects the mandatory minimum sentence, does not alter this conclusion.

      SO ORDERED.

      DATED THIS 28TH DAY OF JULY, 2009



                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




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